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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

                                            )       COURT MINUTES – CIVIL
                                            )     BEFORE: BECKY R. THORSON
Jocelyn Mammen,                             )       U.S. MAGISTRATE JUDGE
                                            )
                   Plaintiff,               )   Case No:        18-640 WMW/BRT
                                            )   Date:           August 3, 2018
v.
                                            )   Time Commenced: 9:00 am
Hartford Life & Accident Insurance          )   Time Concluded: 9:15 am
Company,                                    )   Time in Court:  15 Minutes
                                            )
                   Defendant.               )
                                            )
                                            )


Hearing on: TELEPHONE STATUS CONFERENCE

APPEARANCES:

      Plaintiff:   Denise Yegge Tataryn

      Defendant:   Elizabeth G. Doolin

PROCEEDINGS:

      X      By Telephone

Other Remarks:

      Telephone status conference held.


                                          s/ Melissa S. Kruger
                                          Courtroom Deputy/Judicial Assistant
